Case 9:21-cv-81117-AMC Document 1 Entered on FLSD Docket 06/24/2021 Page 1 of 18




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                           Case No.:


  RUTH COLAS,

             Plaintiff,

  vs.

  LOURDES-NOREEN MCKEEN RESIDENCE
  FOR GERIATRIC CARE, INC., a Florida Not
  for Profit Corporation D/B/A LOURDES
  NOREEN MCKEEN RESIDENCE,

         Defendant.
  ________________________________________/

                                             COMPLAINT

           COMES NOW, RUTH COLAS, (hereinafter “Plaintiff”) by and through her undersigned

  attorney hereby sues Defendant LOURDES-NOREEN MCKEEN RESIDENCE FOR

  GERIATRIC CARE, INC., a Florida Not for Profit Corporation D/B/A LOURDES NOREEN

  MCKEEN RESIDENCE (hereinafter, "Defendant"), and states:

                                    JURISDICTION AND VENUE

  1. This is an action for damages and other relief based on unlawful employment practices

        committed by Defendant and jurisdiction of this Court is invoked pursuant to the provisions of

        Title VII of the Civil Rights Act of 1964, § 706(f) (42 U.S.C. § 2000e-5(f)), the Florida Civil

        Rights Act (“FCRA”), (§§ 760.01-760.11).

  2. Jurisdiction is conferred upon this Court pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1367.

  3. The claims asserted in this Complaint arose in the Southern District of Florida during the

        course of Plaintiff’s employment with Defendant.




                                                    1
Case 9:21-cv-81117-AMC Document 1 Entered on FLSD Docket 06/24/2021 Page 2 of 18




  4. Venue is proper in this Court pursuant to 28 U.S.C. § 1391 since Plaintiff was employed by

     Defendant at their principal location in West Palm Beach.

                                                 PARTIES

  5. Plaintiff was at all times relevant to this action, resided within the Southern District of Florida.

     Plaintiff is over the age of eighteen.

  6. Plaintiff is a Black individual from Haiti. She is therefore a member of a class protected under

     Title VII and the FCRA because the terms, conditions, and privileges of her employment were

     altered because of her race, national origin, and/or color.

  7. Further, Plaintiff was retaliated against for his complaints of discriminatory conduct on behalf

     of Defendant which places him within a class protected under Title VII and the FCRA.

  8. Defendant is a Florida Corporation organized and existing in Florida, with its principal place

     of business in Florida. Specifically, Plaintiff worked at Defendant’s principal location in West

     Palm Beach, Florida.

  9. Defendant has, at all times material, employed 15 or more employees for each working day in

     each of twenty or more calendar weeks in the current or preceding year in accordance with

     Title VII and the FCRA (42 U.S.C. §2000e(b); Fla. Stat. §760.02(7)).

  10. Plaintiff has exhausted her administrative remedies by filing a timely charge of discrimination

     ("Charge") against the Defendant with the Equal Employment Opportunity Commission and

     the Florida Commission on Human Relations.

  11. Plaintiff’s Charge was filed on or about September 29, 2020. The actions complained of herein

     occurred within 300 days thereof and/or continued from that date stemming from the same

     actions set forth in the Charge.




                                                    2
Case 9:21-cv-81117-AMC Document 1 Entered on FLSD Docket 06/24/2021 Page 3 of 18




  12. Plaintiff was terminated from her position on or about June 18, 2020. Her Charge was therefore

     timely filed.

  13. Plaintiff was issued a Notice of Right to Sue on May 10, 2021. This suit is filed in accordance

     with that Notice and within the applicable 90-day time limitation.

  14. The Florida Commission on Human Relations did not issue a finding on Plaintiff’s charge

     within 180 days of the filing of said charges.

  15. All other conditions precedent to this action have been performed or have been waived.

                     GENERAL ALLEGATIONS COMMON TO ALL COUNTS

  16. Plaintiff was employed by the Defendant from 2014 to June 18, 2020, as a Licensed Practical

     Nurse (“LPN”).

  17. Plaintiff worked for the Defendant and was at all times qualified for her job in that she maintained

     her position without incident. At all relevant times, Plaintiff performed her duties in an

     exemplary fashion.

  18. On or about June 11, 2020, Plaintiff was notified by a family member, who she had been in

     contact with, that they might have been exposed to someone who tested positive for COVID-

     19.

  19. Plaintiff immediately notified her direct supervisor, Marie Toussaint Adon (Black, Haitian)

     (hereinafter, “Ms. Adon”) of the situation as required to do per the implemented policy and

     requested instructions to follow as she was scheduled to come into work.

  20. Ms. Adon told Plaintiff to find a place to get tested. Given that Plaintiff was on the schedule

     for that day, Plaintiff asked if she could get tested on site as she was not having any symptoms

     she was already on the way. Ms. Adon directed Plaintiff to see Glenda Kiernan (White,

     American) the Staff Development Coordinator who was in charge of the testing site.




                                                     3
Case 9:21-cv-81117-AMC Document 1 Entered on FLSD Docket 06/24/2021 Page 4 of 18




  21. Plaintiff arrived directly at the testing site as directed by her supervisor. Plaintiff was greeted

     by Ms. Kiernan and Ms. Marion Nehaus, (White, American) the director of nursing.

  22. Ms. Kiernan denied Plaintiff the test and requested that she left the premises. Plaintiff did as

     directed and went to get tested on her own. Upon information and belief, non-black employees

     such as Sue Rivera (“Hispanic”) and others who had symptoms or believed had been exposed

     were allowed to get tested on site.

  23. On or about June 18, 2020, while awaiting her results, Plaintiff received a phone call from the

     Human Resources Director, Jaime El Georr (White, American) (hereinafter, “Ms. Georr”)

     advising her that she was being terminated.

  24. Plaintiff disputed the facts allegedly supporting her termination as she believed that the

     decision was based on discriminatory bias and requested to speak to the executive

     administrator, Louna Phillips.

  25. On or about June 19, 2020, while awaiting a call from the director, Plaintiff received and faxed

     her negative results to Ms. Georr. During a phone call, Ms. Georr acknowledged receipt of the

     fax, apologized to Plaintiff for the situation and advised Plaintiff she would discuss the matter

     with Ms. Nehaus and Ms. Phillips and contact her back. However, Plaintiff never received a

     call back.

  26. On or about June 29, 2020, Plaintiff received a letter advising that her termination remained

     unchanged.

  27. Upon information and belief, Defendant’s reason for termination (if any) is pretextual for

     unlawful discrimination and or retaliation.




                                                    4
Case 9:21-cv-81117-AMC Document 1 Entered on FLSD Docket 06/24/2021 Page 5 of 18




  28. If, however, the reason(s) proffered by Defendant are found to be with merit, Plaintiff’s race,

     color, national origin and/or complaints of disparate treatment were motivating factor(s) in the

     decision for the adverse employment action(s).

  29. Defendant acted with intentional disregard for Plaintiff’s rights under Title VII, and the FCRA.

  30. Plaintiff has retained the undersigned firm to prosecute this action on her behalf and has agreed

     to pay it a reasonable fee for its services.

  31. Plaintiff is entitled to her reasonable attorneys’ fees and costs if she is the prevailing party in

     this action.

                                        COUNT I
                           VIOLATION OF THE CIVIL RIGHTS ACT
                            (DISCRIMINATION BASED ON RACE)

  32. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-31 of this

     complaint as if set out in full herein.

  33. Plaintiff brings this action under Title VII of the Civil Rights Act of 1964, §§706(a) and 706(g)

     for damages caused by Defendant’s unlawful employment practices committed against

     Plaintiff.

  34. Plaintiff is a member of a protected class, to wit, black race.

  35. Defendant, by and through its owner and managers, did not treat Plaintiff the same as other

     non-black employees as alleged above.

  36. At all times material hereto, the Defendant failed to comply with the Civil Rights Act of 1964

     [42 U.S.C. 2000 e-2 (a)], which states, “It shall be an unlawful employment practice for an

     employer to: (1) fail or refuse to hire or to discharge any individual, or otherwise to

     discriminate against any individual with respect to his compensation, terms, conditions, or

     privileges of employment, because of such individual's race, color, religion, sex, or




                                                    5
Case 9:21-cv-81117-AMC Document 1 Entered on FLSD Docket 06/24/2021 Page 6 of 18




     national origin; or (2) to limit, segregate, or classify his employees or applicants for

     employment in any way which would deprive or tend to deprive any individual of employment

     opportunities or otherwise adversely affect his status as an employee, because of such

     individual's race, color, religion, sex, or national origin.”

  37. The Plaintiff was subjected to disparate treatment in the workplace, in that similarly situated,

     non-Black employees were allowed better work opportunities by not being subjected to unfair

     treatment.

  38. Defendant did not provide Plaintiff with a reason for refusing her requests to get tested on site.

     However, even if Defendant had a reason, Plaintiff’s race was, at minimum, a motivating

     factor in its decision.

  39. At the time of this treatment from employment, the Plaintiff did perform and excel at the

     performance of the essential functions assigned to her by Defendant. Plaintiff was qualified

     for the position apart from her apparent race.

  40. The Defendant is a sophisticated employer who has actual knowledge of the requirements of

     Title VII of the Civil Rights Act of 1964, as amended.

  41. The failure of Defendant to adhere to the mandates of the Act was willful and its violations of

     the provisions of the Act were willful.

  42. Defendant, through its practices and policies as an employer, willfully, and with malicious or

     reckless disregard of Plaintiff’s federally protected rights, discriminated against Plaintiff on

     account of her race in violation of Act with respect to its decision to treat Plaintiff different

     from other employees.

  43. Plaintiff was fired by Defendant and Plaintiff’s termination from employment was directly

     and proximately caused by the Defendant’s unjustified discrimination against Plaintiff




                                                    6
Case 9:21-cv-81117-AMC Document 1 Entered on FLSD Docket 06/24/2021 Page 7 of 18




     because of the fact that she was Black, in violation of the Act.

  44. If, however, the reason(s) proffered by Defendant are found to be with merit, Plaintiff’s race,

     was a motivating factor in the decision for the adverse employment action(s).

  45. As a direct and proximate result of the Defendant’s intentional conduct, Plaintiff suffered

     serious economic losses as well as mental pain and suffering.

  46. Plaintiff is entitled to such affirmative relief as may be appropriate, including, but not limited

     to, lost wages, benefits, and compensation for emotional distress, pursuant to the provisions of

     Title VII of the Civil Rights Act of 1964, §706(g).

  47. Plaintiff, based on information and belief, alleges that Defendant’s actions were done with

     malice, and with intentional disregard for her protected rights under Title VII of the Civil

     Rights Act of 1964. Defendant, by and through their officers, and/or supervisors, authorized,

     condoned, and/or ratified the unlawful conduct of Ms. Georr, and/or other employees.

     Therefore, Plaintiff is also entitled to punitive damages from Defendant in a sum according to

     proof at trial.


  WHEREFORE, Plaintiff respectfully requests that:

       A. The Court grant Plaintiff judgment award Plaintiff judgment against Defendant to

           compensate her for past and future pecuniary losses, including injury to her professional

           reputation, and emotional pain and suffering caused by Defendant’s discriminatory

           treatment in an amount to be determined at trial and in accordance with the Civil Rights

           Act of 1964, §706(g);

       B. The Court award punitive damages as permitted under the law;

       C. The Court award Plaintiff the costs of this action together with her reasonable attorney’s

           fees incurred herein, pursuant to contract and/or statute; and



                                                    7
Case 9:21-cv-81117-AMC Document 1 Entered on FLSD Docket 06/24/2021 Page 8 of 18




       D. Require Defendant to reinstate Plaintiff to the position at the rate of pay and with the full

           benefits Plaintiff would have had Plaintiff not been discriminated against by Defendant,

           or in lieu of reinstatement, award front pay;

       E. The Court award Plaintiff such other and further relief as the Court deems appropriate.

                                        COUNT II
                           VIOLATION OF THE CIVIL RIGHTS ACT
                            (DISCRIMINATION BASED ON COLOR)

  48. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-31 of this

     complaint as if set out in full herein.

  49. Plaintiff brings this action under Title VII of the Civil Rights Act of 1964, §§706(a) and 706(g)

     for damages caused by Defendant’s unlawful employment practices committed against

     Plaintiff because Plaintiff was discriminated against and ultimately terminated on the basis of

     her color.

  50. Plaintiff is a member of a protected class because the terms and conditions of her employment

     were altered due to her skin color.

  51. Defendant, by and through its owner and managers, did not treat Plaintiff the same as non-

     black employees in that the non-black employees were able to be tested for COVID-19 at the

     worksite without being terminated.

  52. Defendant’s owner and managers acted with intentional disregard for Plaintiff’s rights under

     Title VII as a person based on the color of her skin.

  53. At all times material hereto, the Defendant failed to comply with the Civil Rights Act of 1964

     [42 U.S.C. 2000 e-2 (a)], which states, “It shall be an unlawful employment practice for an

     employer to: (1) fail or refuse to hire or to discharge any individual, or otherwise to

     discriminate against any individual with respect to his compensation, terms, conditions, or




                                                   8
Case 9:21-cv-81117-AMC Document 1 Entered on FLSD Docket 06/24/2021 Page 9 of 18




     privileges of employment, because of such individual's race, color, religion, sex, or

     national origin; or (2) to limit, segregate, or classify his employees or applicants for

     employment in any way which would deprive or tend to deprive any individual of employment

     opportunities or otherwise adversely affect his status as an employee, because of such

     individual's race, color, religion, sex, or national origin.”

  54. At the time of this treatment from employment, the Plaintiff did perform and excel at the

     performance of the essential functions assigned to her by Defendant.

  55. The Defendant is a sophisticated employer who has actual knowledge of the requirements of

     Title VII of the Civil Rights Act of 1964, as amended.

  56. The failure of Defendant to adhere to the mandates of the Act was willful and its violations of

     the provisions of the Act were willful.

  57. Defendant, through its practices and policies as an employer, willfully, and with malicious or

     reckless disregard of Plaintiff’s federally protected rights, discriminated against Plaintiff on

     account of the color of her skin a violation of Act with respect to its decision to treat Plaintiff

     different from other employees.

  58. Plaintiff was fired by Defendant and Plaintiff’s termination from employment was directly

     and proximately caused by the Defendant’s unjustified discrimination against Plaintiff

     because of the fact that she was Black, in violation of the Act.

  59. If, however, the reason(s) proffered by Defendant are found to be with merit, Plaintiff’s skin

     color, was a motivating factor in the decision for the adverse employment action(s).

  60. As a direct and proximate result of the Defendant’s intentional conduct, Plaintiff suffered

     serious economic losses as well as mental pain and suffering.




                                                    9
Case 9:21-cv-81117-AMC Document 1 Entered on FLSD Docket 06/24/2021 Page 10 of 18




   61. Plaintiff is entitled to such affirmative relief as may be appropriate, including, but not limited

      to, lost wages, benefits, and compensation for emotional distress, pursuant to the provisions of

      Title VII of the Civil Rights Act of 1964, §706(g).

   62. Plaintiff, based on information and belief, alleges that Defendant’s actions were done with

      malice, and with intentional disregard for her protected rights under Title VII of the Civil

      Rights Act of 1964. Defendant, by and through their officers, and/or supervisors, authorized,

      condoned, and/or ratified the unlawful conduct of Ms. Georr, and/or other employees.

      Therefore, Plaintiff is also entitled to punitive damages from Defendant in a sum according to

      proof at trial.


   WHEREFORE, Plaintiff respectfully requests that:

        A. The Court grant Plaintiff judgment award Plaintiff judgment against Defendant to

            compensate her for past and future pecuniary losses, including appropriate back pay,

            benefits' adjustment, injury to her professional reputation, and emotional pain and

            suffering caused by Defendant’s discriminatory treatment in an amount to be determined

            at trial and in accordance with the Civil Rights Act of 1964, §706(g);

        B. The Court award punitive damages as permitted under the law;

        C. The Court award Plaintiff the costs of this action together with her reasonable attorney’s

            fees incurred herein, pursuant to contract and/or statute; and

        D. Require Defendant to reinstate Plaintiff to the position at the rate of pay and with the full

            benefits Plaintiff would have had Plaintiff not been discriminated against by Defendant,

            or in lieu of reinstatement, award front pay;

        E. The Court award Plaintiff such other and further relief as the Court deems appropriate.




                                                    10
Case 9:21-cv-81117-AMC Document 1 Entered on FLSD Docket 06/24/2021 Page 11 of 18




                                      COUNT III
                      VIOLATION OF THE FLORIDA CIVIL RIGHTS ACT
                           (DISCRIMINATION BASED ON RACE)

   63. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-31 of this

      complaint as if set out in full herein.

   64. Plaintiff brings this action under the Florida Civil Rights Act (“FCRA”), §§ 760.01-760.11 for

      damages caused by Defendant’s unlawful employment practices committed against Plaintiff

      because Plaintiff was terminated on the basis of her race, Black.

   65. Plaintiff is a member of a protected class, to wit, Black race.

   66. Defendant, by and through its supervisors, by the conduct describe above, Defendant has

      engaged in discrimination against Plaintiff because of Plaintiff’s race and subjected the

      Plaintiff to animosity based on her race.

   67. Defendant’s managers acted with intentional disregard for Plaintiff’s rights as a person of

      Black race under the FCRA.

   68. Defendant did not provide Plaintiff with a reason for the disparate treatment she was subjected

      to. However, even if Defendant had a reason, Plaintiff’s race was, at minimum, a motivating

      factor in its decision for the disparate treatment.

   69. At all times material hereto, the employees exhibiting discriminatory conduct towards Plaintiff

      possessed the authority to affect the terms, conditions, and privileges of Plaintiff’s employment

      with the Defendant.

   70. Defendant retained all employees who exhibited discriminatory conduct toward the Plaintiff

      and did so despite the knowledge of said employees engaging in discriminatory actions.




                                                    11
Case 9:21-cv-81117-AMC Document 1 Entered on FLSD Docket 06/24/2021 Page 12 of 18




   71. Plaintiff is entitled to such affirmative relief as may be appropriate, including, but not limited

      to, lost wages, benefits, and compensation for emotional distress, pursuant to the provisions of

      Florida Civil Rights Act §§ 760.01-760.11.

   72. Plaintiff, based on information and belief, alleges that Defendant’s actions were done with

      malice, and with intentional disregard for her protected rights under the FCRA. Defendant, by

      and through their officers, and/or supervisors, authorized, condoned, and/or ratified the

      unlawful conduct of Ms. Georr and/or other employees. Therefore, Plaintiff is also entitled to

      punitive damages from Defendant in a sum according to proof at trial.

   WHEREFORE, Plaintiff requests that:

        A. The Court grant Plaintiff judgment award Plaintiff judgment against Defendant to

            compensate her for past and future pecuniary losses, including appropriate back pay,

            benefits' adjustment, injury to her professional reputation, and emotional pain and

            suffering caused by Defendant’s discriminatory treatment in an amount to be determined

            at trial and in accordance with the Florida Civil Rights Act, §§ 760.01-760.11.

        B. The Court award punitive damages as permitted under the law;

        C. Require Defendant to reinstate Plaintiff to the position at the rate of pay and with the full

            benefits Plaintiff would have had Plaintiff not been discriminated against by Defendant,

            or in lieu of reinstatement, award front pay;

        D. The Court award Plaintiff the costs of this action together with her reasonable attorney’s

            fees incurred herein, pursuant to contract and/or statute; and

        E. The Court award Plaintiff such other and further relief as the Court deems appropriate.




                                                    12
Case 9:21-cv-81117-AMC Document 1 Entered on FLSD Docket 06/24/2021 Page 13 of 18




                                      COUNT IV
                      VIOLATION OF THE FLORIDA CIVIL RIGHTS ACT
                          (DISCRIMINATION BASED ON COLOR)

   73. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-31 of this

      complaint as if set out in full herein.

   74. Plaintiff brings this action under the Florida Civil Rights Act (“FCRA”), Sections 760.01-

      760.11 for damages caused by Defendant’s unlawful employment practices committed against

      Plaintiff because Plaintiff was terminated on the basis of the color of her skin.

   75. Plaintiff is a member of a protected class because the terms and conditions of her employment

      were altered due to her skin color.

   76. Defendant’s managers and representatives acted with intentional disregard for Plaintiff’s rights

      under the FCRA as a person based on the color of her skin.

   77. Defendant’s reason for the disparate treatment she was subjected to, if any was pretextual.

   78. Plaintiff’s skin color was, at minimum, a motivating factor in its decision for the disparate

      treatment of Plaintiff.

   79. At all times material hereto, the employees exhibiting discriminatory conduct towards Plaintiff

      possessed the authority to affect the terms, conditions, and privileges of Plaintiff’s employment

      with the Defendant.

   80. Defendant retained all employees who exhibited discriminatory conduct toward the Plaintiff

      and did so despite the knowledge of said employees engaging in discriminatory actions.

   81. Plaintiff is entitled to such affirmative relief as may be appropriate, including, but not limited

      to, lost wages, benefits, and compensation for emotional distress, pursuant to the provisions of

      Florida Civil Rights Act §§ 760.01-760.11.




                                                    13
Case 9:21-cv-81117-AMC Document 1 Entered on FLSD Docket 06/24/2021 Page 14 of 18




   82. Plaintiff, based on information and belief, alleges that Defendant’s actions were done with

      malice, and with intentional disregard for her protected rights under the FCRA. Defendant, by

      and through their officers, and/or supervisors, authorized, condoned, and/or ratified the

      unlawful conduct of Ms. Georr and/or other employees. Therefore, Plaintiff is also entitled to

      punitive damages from Defendant in a sum according to proof at trial.

   WHEREFORE, Plaintiff respectfully requests that:

        A. The Court grant Plaintiff judgment award Plaintiff judgment against Defendant to

            compensate her for past and future pecuniary losses, including appropriate back pay,

            benefits' adjustment, injury to her professional reputation, and emotional pain and

            suffering caused by Defendant’s discriminatory treatment in an amount to be determined

            at trial and in accordance with the Florida Civil Rights Act, §§ 760.01-760.11.

        B. The Court award punitive damages as permitted under the law;

        C. Require Defendant to reinstate Plaintiff to the position at the rate of pay and with the full

            benefits Plaintiff would have had Plaintiff not been discriminated against by Defendant,

            or in lieu of reinstatement, award front pay;

        D. The Court award Plaintiff the costs of this action together with her reasonable attorney’s

            fees incurred herein, pursuant to contract and/or statute; and

        E. The Court award Plaintiff such other and further relief as the Court deems appropriate.


                                      COUNT V
                          VIOLATION OF THE CIVIL RIGHTS ACT
                     (DISCRIMINATION BASED ON NATIONAL ORIGIN)

   83. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-31 of this

      complaint as if set out in full herein.




                                                   14
Case 9:21-cv-81117-AMC Document 1 Entered on FLSD Docket 06/24/2021 Page 15 of 18




   84. Plaintiff brings this action under Title VII of the Civil Rights Act of 1964, §§706(a) and 706(g)

      for damages caused by Defendant’s unlawful employment practices committed against

      Plaintiff because Plaintiff was terminated on the basis of her national origin, Haitian.

   85. Plaintiff is a member of a protected class, to wit, Haitian.

   86. Defendant, by and through its owner and managers, did not treat Plaintiff the same as other

      non-Haitian employees in that non-Haitian employees were allowed better work opportunities.

   87. Defendant’s owner and managers acted with intentional disregard for Plaintiff’s rights as a

      Haitian person under Title VII.

   88. Defendant’s disparate treatment of Plaintiff including but not limited to Plaintiff’s termination

      from employment was directly and proximately caused by the Defendant’s unjustified

      discrimination against Plaintiff because of the fact that she was Haitian, in violation of the Act.

   89. If, however, the reason(s) proffered by Defendant are found to be with merit, Plaintiff’s

      national origin, was a motivating factor in the decision for the adverse employment action(s).

   90. Plaintiff is entitled to such affirmative relief as may be appropriate, including, but not limited

      to, lost wages, benefits, and compensation for emotional distress, pursuant to the provisions of

      Title VII of the Civil Rights Act of 1964, §706(g).

   91. Plaintiff, based on information and belief, alleges that Defendant’s actions were done with

      malice, and with intentional disregard for her protected rights under Title VII of the Civil

      Rights Act of 1964. Defendant, by and through their officers, and/or supervisors, authorized,

      condoned, and/or ratified the unlawful conduct of Ms. Georr and/or other employees.

      Therefore, Plaintiff is also entitled to punitive damages from Defendant in a sum according to

      proof at trial.




                                                    15
Case 9:21-cv-81117-AMC Document 1 Entered on FLSD Docket 06/24/2021 Page 16 of 18




   WHEREFORE, Plaintiff requests that:

          A. The Court grant Plaintiff judgment award Plaintiff judgment against Defendant to

              compensate her for past and future pecuniary losses, including injury to her

              professional reputation, and emotional pain and suffering caused by Defendant’s

              discriminatory treatment in an amount to be determined at trial and in accordance with

              the Civil Rights Act of 1964, §706(g);

          B. The Court award punitive damages as permitted under the law;

          C. The Court award Plaintiff the costs of this action together with her reasonable

              attorney’s fees incurred herein, pursuant to contract and/or statute; and

          D. The Court award Plaintiff such other and further relief as the Court deems appropriate.

                                       COUNT VI
                      VIOLATION OF THE FLORIDA CIVIL RIGHTS ACT
                      (DISCRIMINATION BASED ON NATIONAL ORIGIN)

   92. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-31 of this

      complaint as if set out in full herein.

   93. Plaintiff brings this action under the Florida Civil Rights Act (“FCRA”), §§ 760.01-760.11 for

      damages caused by Defendant’s unlawful employment practices committed against Plaintiff

      because Plaintiff was terminated on the basis of her national origin, Haitian.

   94. Plaintiff is a member of a protected class, to wit, Haitian.

   95. Defendant, by and through its supervisors, by the conduct describe above, engaged in

      discrimination against Plaintiff because of Plaintiff’s national origin and subjected the Plaintiff

      to animosity based on the fact she is Haitian.




                                                    16
Case 9:21-cv-81117-AMC Document 1 Entered on FLSD Docket 06/24/2021 Page 17 of 18




   96. Defendant, by and through its owner and managers, did not treat Plaintiff the same as other

      non-Haitian employees in that non-Haitian employees were allowed better working

      opportunities.

   97. Defendant’s disparate treatment of Plaintiff including but not limited to Plaintiff’s termination

      from employment was directly and proximately caused by the Defendant’s unjustified

      discrimination against Plaintiff because of the fact that she is Haitian, in violation of the Act.

   98. If, however, the reason(s) proffered by Defendant are found to be with merit, Plaintiff’s

      national origin, was a motivating factor in the decision for the adverse employment action(s).

   99. Plaintiff is entitled to such affirmative relief as may be appropriate, including, but not limited

      to, lost wages, benefits, and compensation for emotional distress, pursuant to the provisions of

      Florida Civil Rights Act §§ 760.01-760.11.

   100.   Plaintiff, based on information and belief, alleges that Defendant’s actions were done with

      malice, and with intentional disregard for her protected rights under the FCRA. Defendant, by

      and through their officers, and/or supervisors, authorized, condoned, and/or ratified the

      unlawful conduct of Ms. Georr and/or other employees. Therefore, Plaintiff is also entitled to

      punitive damages from Defendant in a sum according to proof at trial.


   WHEREFORE, Plaintiff requests that:

          A. The Court grant Plaintiff judgment award Plaintiff judgment against Defendant to

              compensate her for past and future pecuniary losses, including injury to her

              professional reputation, and emotional pain and suffering caused by Defendant’s

              discriminatory treatment in an amount to be determined at trial and in accordance with

              the Florida Civil Rights Act, §§ 760.01-760.11.

          B. The Court award punitive damages as permitted under the law;



                                                    17
Case 9:21-cv-81117-AMC Document 1 Entered on FLSD Docket 06/24/2021 Page 18 of 18




           C. The Court award Plaintiff the costs of this action together with her reasonable

               attorney’s fees incurred herein, pursuant to contract and/or statute; and

           D. The Court award Plaintiff such other and further relief as the Court deems appropriate.

                                      DEMAND FOR JURY TRIAL


           Plaintiff RUTH COLAS demand trial by jury on all issues and all counts of this Complaint

   so triable as a matter of right.

   Dated: June 24, 2021

                                                         PEREGONZA THE ATTORNEYS, PLLC
                                                         1414 NW 107th Ave,
                                                         Suite 302
                                                         Doral, FL 33172
                                                         Tel. (786) 650-0202
                                                         Fax. (786) 650-0200

                                                         By: /s/Nathaly Saavedra
                                                         Nathaly Saavedra, Esq.
                                                         Fla. Bar No. 118315
                                                         Email: nathaly@peregonza.com




                                                    18
